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 3                             UNITED STATES DISTRICT COURT

 4                                       DISTRICT OF NEVADA

 5                                                ***

 6   UNITED STATES OF AMERICA,                        )
                                                      )
 7                          Plaintiff,                )
                                                      )
 8   v.                                               )     2:05-cr-0440-RLH-LRL
                                                      )     Motion to Dismiss (#50)
 9
     DONALD M. DAVIDSON,                              )
10                                                    )
                            Defendant.                )
11                                                    )

12                             REPORT & RECOMMENDATION
13          The matter before the court is the defendant Donald M. Davidson’s Motion to Dismiss

14   Superseding and Second Superseding Indictments (#50). The court has considered the motion,

15   the government’s Response (#59), and Mr. Davidson’s Reply (#66). Mr. Davidson alleges that

16   the charges that were added to the first and second superseding indictments were the product

17   of vindictiveness on the part of the prosecutor in retaliation for Mr. Davidson having testified

18   for the defense and against the government at the sentencing hearing of Lance Malone. For the

19   reasons that follow, the undersigned U.S. Magistrate Judge recommends that the motion be

20   denied.

21                                PROCEDURAL BACKGROUND

22          On November 22, 2005, the Federal Grand Jury returned an indictment against Mr.

23   Davidson, charging him with conspiracy to commit mail fraud and money laundering arising

24   out of a scheme to bribe then County Commissioner Erin Kenny in connection with a proposed

25   commercial development at the corner of Desert Inn Road and Buffalo Drive. The indictment

26   also contained ten counts of mail fraud and three counts of money laundering relating to the

     same scheme.
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 1         The lead prosecutor in this case is Assistant U.S. Attorney Daniel Schiess. Mr. Schiess

 2   was also the lead prosecutor in United States v. Lance Malone, et al. In that case Mr. Malone

 3   entered a guilty plea on September 19, 2006. On October 24, 2006, a first superseding

 4   indictment was filed in this case, adding a conspiracy count and associated wire fraud counts

 5   alleging a separate bribery scheme involving an attempt by Mr. Davidson and an unnamed

 6   coconspirator to bribe an unnamed Las Vegas city councilman to vote in favor of “certain

 7   matters” before the Las Vegas City Council. Hence, the first superseding indictment alleged

 8   two separate conspiracies: one involving the above-referenced scheme to bribe Ms. Kenny, and

 9   the other involving a scheme to bribe a city councilman.

10         On February 13 and 14, 2007, a sentencing hearing was conducted in the Malone case.

11   Mr. Schiess urged the sentencing judge, U.S. District Judge Larry R. Hicks, to consider

12   evidence that Mr. Malone, when he was a County Commissioner, agreed to accept a $200,000

13   bribe from Mr. Davidson and one Eskander Ghermezian, an owner of Triple Five Nevada

14   Development Corporation, to vote for a casino project in Spring Valley. Mr. Schiess contended

15   that such conduct was part of a common scheme or plan, and was therefore relevant for

16   sentencing purposes. Mr. Malone objected to the admission of such evidence on the grounds

17   that the government couldn’t prove that such a bribery scheme existed, and that in any event

18   such a bribery scheme did not constitute relevant conduct for sentencing purposes. To prove

19   that the bribery scheme occurred, Mr. Schiess introduced intercepted telephone calls between

20   Mr. Malone and Mr. Davidson concerning the Spring Valley casino matter. To contradict the

21   government’s evidence, Mr. Davidson submitted an affidavit denying that he bribed Mr.

22   Malone, and at the sentencing hearing testified that he didn’t bribe Mr. Malone.

23         After noting how “potent” Title III wire intercepts are as evidence in a corruption case

24   generally and in the Malone case in particular because “they open a window into exactly what

25   was going through a person’s mind at the time,” Sentencing Transcript at 357, attached as

26   Exhibit 11, Document 50-21, to Davidson Motion to Dismiss (#50), Judge Hicks said:

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 1           But the fact is, at that time at least, Mr. McDonald, Mr. Davidson, and Mr.
            Malone, were not charged with the offenses that are related to that particular
 2          conduct.

 3           Since then, Mr. Davidson has been indicted as I understand it. Again, that’s not
            a case which is before me. And Mr. McDonald has not been indicted. I think
 4          some of the reasons why have probably surfaced in the course of what was
            presented here in the courtroom. And I would assume that also because there has
 5          been a prosecution of Mr. Malone, which has been successful by virtue of his
            guilty plea in this case, he was not charged in connection with those Triple Five
 6          and Michael McDonald incidents.

 7            But the fact is that the sentencing guidelines are created and developed by a
            commission which contemplates that such outside conduct is going to be handled
 8          by other prosecutions, and a conviction for -- on such other prosecutions resolves
            everything from constitutional concerns to providing a more uniform application
 9          of the sentencing guidelines.... What I’m leading up to is the obvious, ... that
            relevant conduct, in the Court’s mind, almost always is directly related to the
10          underlying offense of conviction.

11   Sentencing Transcript at 358-59 (emphasis added). Accordingly, Judge Hicks declined to

12   consider for sentencing purposes evidence of Mr. Malone’s alleged involvement in a Spring

13   Valley casino bribery scheme because it was not directly related to, and therefore not relevant

14   to the sentencing proceeding on the particular bribery and extortion scheme of which Mr.

15   Malone had been convicted. Nevertheless, Judge Hicks sentenced Mr. Malone to a lengthy term

16   of imprisonment.

17          On February 20, 2007, Mr. Schiess caused a grand jury subpoena to be served on Mr.

18   Malone. Having been granted use immunity pursuant to 18 U.S.C. § 6002-6003, Mr. Malone

19   appeared before the federal grand jury on February 27, 2007 and answered Mr. Schiess’s

20   questions.

21          On March 13, 2007, a second superseding indictment was filed. The second superseding

22   indictment expanded the scope of the conspiracy count involving Ms. Kenny. In addition to the

23   bribery scheme relating to the commercial property at Desert Inn and Buffalo, it included a

24   series of unlawful payments from Triple Five through Mr. Davidson to Ms. Kenny for her vote

25   approving the casino project in Spring Valley Township, and a payment from All American

26   Land Corporation through Mr. Davidson to Ms. Kenny for her approval of a zoning change on

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 1   property located at Ft. Apache Road and Maule Avenue. The scheme to bribe a city councilman

 2   alleged in the superseding indictment was forwarded to the second superseding indictment. The

 3   only modification to that conspiracy charge was that the unnamed coconspirator was identified

 4   as Mr. Malone. Additionally, the second superseding indictment contained three forfeiture

 5   allegations.

 6           Mr. Davidson contends that the charges that were added to the first and second

 7   superseding indictments were the product of prosecutorial vindictiveness against Mr. Davidson

 8   for having testified for Mr. Malone and against the government at Mr. Malone’s sentencing

 9   hearing. On this basis he seeks an order dismissing all charges except those that were contained

10   in the original indictment.1

11           The government contends that Mr. Davidson has failed to establish a prima facie case

12   of vindictiveness as the motivation for adding the alleged conspiracy to bribe a city councilman

13   in the first superseding indictment. As to the second superseding indictment, the government

14   tacitly admits that Mr. Davidson has established a prima facie case of vindictiveness. The

15   government contends, however, that the expansion of the second superseding indictment to

16   include the scheme to funnel unlawful payments to Ms. Kenny for her vote on the Spring Valley

17   casino project, and the payment to Ms. Kenny for her approval of a zoning change on property

18   located at Ft. Apache Road and Maule Avenue, was justified by independent reasons and

19   intervening circumstances, and was not the product of vindictiveness.

20           The government states, for example, that the grand jury investigation into Mr.

21   Davidson’s alleged scheme to bribe a city councilman was ongoing at the time the original

22   indictment was returned. To include the charge in the original indictment prematurely would

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                The second superseding indictment contains the charges that were set forth in the original
25   indictment, those added in the first superseding indictment, and, of course, the charges added in the second
     superseding indictment. Mr. Davidson has been arraigned on and pled not guilty to all the charges contained
26   in the second superseding indictment. At this point it is the only operative indictment.

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 1   have jeopardized the investigation. Hence, only in a superseding indictment would the

 2   government be able to file the charge. Additionally, the government notes that during Mr.

 3   Malone’s sentencing hearing, which took place after the first superseding indictment was filed,

 4   Judge Hicks ruled that he would not consider the scheme to bribe Mr. Malone in connection

 5   with the Spring Valley casino project because it was not conduct of which Mr. Malone was

 6   formally accused in his case, and therefore was not directly related to the bribery and extortion

 7   scheme of which he was convicted. In view of that ruling, the government states that in order

 8   to preserve its ability at trial in this case to offer evidence of the other bribery schemes in which

 9   Mr. Davidson was allegedly involved with Ms. Kenny, Mr. Schiess felt compelled to charge

10   those schemes in the second superseding indictment. Finally, the government states that the

11   forfeiture allegations in the second superseding indictment were the product of an increased

12   understanding of forfeiture law gained by Mr. Schiess during Mr. Malone’s sentencing

13   proceedings. The government maintains that these independent reasons and intervening

14   circumstances justified all the new charges set forth in the first and second superseding

15   indictments.

16                                             DISCUSSION

17          “A prosecutor violates due process when he seeks additional charges solely to punish a

18   defendant for exercising a constitutional or statutory right.” United States v. Hernandez-

19   Herrera, 273 F.3d 1213, 1217 (9 th Cir. 2001). Vindictive prosecution may be shown in two

20   ways. Due process is violated when actual vindictiveness is shown. United States v. Goodwin,

21   457 U.S. 368, 380 n. 12 (1982). Or the circumstances may reflect a sufficient likelihood of

22   vindictiveness to warrant a presumption of vindictiveness. Blackledge v. Perry, 417 U.S. 21,

23   27 (1974).

24          The appearance of vindictiveness test is not a per se rule striking down any
            increased charge following any act by the defendant...; the link of vindictiveness
25          cannot be inferred simply because the prosecutor’s actions followed the exercise
            of a right, or because they would not have been taken but for exercise of a
26          defense right. Rather, the appearance of vindictiveness results only where, as a

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 1          practical matter, there is a realistic or reasonable likelihood of prosecutorial
            conduct that would not have occurred but for hostility or a punitive animus
 2          towards the defendant because he has exercised his specific legal rights.
              When increased charges are filed in the routine course of prosecutorial review
 3          or as a result of continuing investigation, there is no realistic likelihood of
            prosecutorial abuse, and therefore no appearance of vindictive prosecution arises
 4          merely because the prosecutor’s action was taken after a defense right was
            exercised.... It is only when prosecutorial actions stem from an animus toward
 5          the exercise of a defendant’s rights that vindictive prosecution exists.

 6   United States v. Gallegos-Curiel, 681 F.2d 1164, 1168-69 (9 th Cir. 1982)(citations omitted).

 7           There is good reason to be cautious before adopting an inflexible presumption
            of prosecutorial vindictiveness in a pretrial setting. In the course of preparing a
 8          case for trial, the prosecutor may uncover additional information that suggests a
            basis for further prosecution or he may simply come to realize that information
 9          possessed by the State has a broader significance. At this stage of the
            proceedings, the prosecutor's assessment of the proper extent of prosecution may
10          not have crystallized. . . . A prosecutor should remain free before trial to exercise
            the broad discretion entrusted to him to determine the extent of the societal
11          interest in prosecution. An initial decision should not freeze future conduct.

12   Goodwin, 457 U.S. at 381-82. Where a presumption is raised, the burden shifts to the

13   government to show that “independent reasons or intervening circumstances dispel the

14   appearance of vindictiveness and justify its decisions.” United States v. Montoya, 45 F.3d 1286,

15   1299 (9 th Cir. 1995).

16   The First Superseding Indictment

17          The first superseding indictment was returned almost four months prior to the occurrence

18   of the event that, according to Mr. Davidson, sparked the government’s vindictiveness. The

19   first superseding indictment was filed on October 24, 2006. Mr. Davidson didn’t testify on

20   behalf of Mr. Malone until the sentencing hearing on February 13, 2007. Hence, the city

21   councilman bribery conspiracy charge that was added to the first superseding indictment could

22   not have been the product of vindictiveness.

23   The Second Superseding Indictment

24          The second superseding indictment was returned on March 13, 2007, one month after

25   Mr. Davidson testified for Mr. Malone. It increased the charges against Mr. Davidson by

26   expanding the scope of the conspiracy count involving Ms. Kenny to include unlawful payments

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 1   to Ms. Kenny from Triple Five and All American Land Corporation. Mr. Davidson contends

 2   that the increased charges were the product of the vindictiveness of Mr. Schiess, whose effort

 3   to obtain a longer sentence for Mr. Malone was frustrated by the affidavit and testimony given

 4   by Mr. Davidson at the sentencing hearing. In Mr. Davidson’s view, the timing of his affidavit

 5   and testimony, followed closely by the increased charges, creates such a strong appearance of

 6   vindictiveness as to give rise to a presumption of vindictiveness. The government tacitly

 7   concedes that the presumption exists, and sets about to rebut it. The government concedes too

 8   much.

 9           A close review of the sentencing hearing reveals that Judge Hicks’ reason for declining

10   to consider Mr. Malone’s alleged involvement in the Spring Valley casino bribery scheme had

11   nothing to do with and was not influenced by Mr. Davidson’s declarations or testimony. During

12   his discussion of this issue, Judge Hicks commented on the “potency” of wiretap evidence in

13   corruption cases. He did not comment on Mr. Davidson’s testimony. Indeed, after hearing the

14   wiretap evidence offered at the sentencing hearing, and wondering aloud why Mr. Malone had

15   not been indicted for the Spring Valley casino bribery scheme and the scheme to bribe a city

16   councilman, Judge Hicks said, “I would assume that because there has been a prosecution of

17   Mr. Malone, which has been successful by virtue of his guilty plea in this case, he was not

18   charged in connection with those Triple Five and Michael McDonald incidents.” In explaining

19   why he would not consider Mr. Malone’s alleged involvement in those incidents for sentencing

20   purposes, Judge Hicks did not say he didn’t believe the conduct took place, or that he had a

21   substantial doubt that the conduct took place. He said:

22             But the fact is that the sentencing guidelines are created and developed by a
             commission which contemplates that such outside conduct is going to be handled
23           by other prosecutions, and a conviction for -- on such other prosecutions resolves
             everything from constitutional concerns to providing a more uniform application
24           of the sentencing guidelines.... What I’m leading up to is the obvious, ... that
             relevant conduct, in the Court’s mind, almost always is directly related to the
25           underlying offense of conviction.

26   Sentencing Transcript at 358-59. Thus, it is clear that Judge Hicks believed that for sentencing

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 1   purposes it was the sentencing guidelines that prohibited him from considering Mr. Malone’s

 2   alleged involvement in the Triple Five and city councilman bribery schemes. Nothing in the

 3   record suggests that Mr. Davidson’s testimony played any role in Judge Hicks’ analysis or

 4   decision. Notwithstanding Mr. Davidson’s perception to the contrary, he was not responsible

 5   for frustrating the government’s sentencing position.

 6          The court does not believe Mr. Schiess is irrational. Nor does the court give any weight

 7   to Mr. Davidson’s observation that “Mr. Schiess is in denial within himself as to his

 8   vindictiveness here.” Davidson’s Reply (#66) at 5. The court finds that there is no “realistic

 9   or reasonable likelihood” that Mr. Schiess would file increased charges to punish Mr. Davidson

10   for something for which Mr. Davidson clearly was not responsible. United States v. Gallegos-

11   Curiel, supra, 681 F.2d at 1169. Based on this record, the court finds that the filing of the

12   second superseding indictment one month after Mr. Davidson testified at Mr. Malone’s

13   sentencing hearing, without more, did not create an appearance of vindictiveness. As the court

14   noted in Gallegos-Curiel, “[w]hen increased charges are filed in the routine course of

15   prosecutorial review or as a result of continuing investigation, there is no realistic likelihood of

16   prosecutorial abuse, and therefore no appearance of vindictive prosecution arises merely

17   because the prosecutor’s action was taken after a defense right was exercised.” United States

18   v. Gallegos-Curiel, 681 F.2d at 1169.

19          Even if for the sake of argument it could be said that there was an appearance of

20   vindictiveness, Mr. Schiess’s explanation of the circumstances leading to the return of the

21   second superseding indictment is credible and reasonable.           It establishes that legitimate

22   prosecutorial considerations governed his actions in this case. Mr. Davidson’s claim of

23   vindictive prosecution is without merit.

24   ...

25   ...

26   ...

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 1                                   RECOMMENDATION

 2         Based on the foregoing, it is the recommendation of the undersigned U.S. Magistrate

 3   Judge that Mr. Davidson’s Motion to Dismiss Superseding and Second Superseding Indictments

 4   (#50) should be denied.

 5         DATED this 6th day of June, 2007.

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                                             LAWRENCE R. LEAVITT
 8                                           UNITED STATES MAGISTRATE JUDGE
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